Case 6'16-cv-00982-CE|\/|-TBS Document 200 Filed 06/19/18 Page 1 of 3 Page|D 5085

AFF[DAV|T OF SERV|CE

 

 

 

 

 

State of Fiorida County of Middle District!Or|ando Div Court
Case Number; 6:16-CV-982-ORL-41TBS

P|aintiff: m ||l "" |l||l |"|""| ll H ||"
Federal Trade Commission and Office of the Attorney Genera|, State of SLK2913093136

F|orida, Department of Lega| Affairs,
vs.

Defendant:
Life Menagement Services of Orange County, LLC, et a|,,

For:

Mar|< J. Bernet
Akerrnen Senterfitt
401 E. Jac|<son Street
Suite 1700

Tempe, Fi_ 33602

Received by SLK lNVEST|GAT|ONS on the BIh day of June, 2018 at 10:21 am to be served on Shannon K.
Guice, 3609 Oriskany Drive, Oriando, FL 32820.

i, TAFVH\AY GILBERT, being duly sworn, depose and say that on the 13th day of June, 2018 at 8:09 pm, I:

lNDthDUALLYIPERSONALLY served by delivering a true copy of the ORDER, RECE|VER'S MOT|ON
TO COMPEL DISGORGEMENT OF ASSETS FROM DEFENDANT KEV|N GU|CE AND HlS SPOUSE,

and EXH.¥B!TS With the date end hour of service endorsed thereon by me, to: Shannon K. Guice at the
address of: 3609 Oriskany Drive, Orlando, FL 32820, and informed said person of the contents therein,
in compliance With state statutes

N!iiitar\,-l Status: Besed upon inquiry of party served, Defendant is not in the military service of the United
States of America.

Marital Status: Based upon inquiry of party served, Defendent is married

Description of Person Served; Age: 44, Sex: F-`, Race/Skin Coior: White, Height: 5‘6", Weight: 165, Hair;
B|onde. G|assesi Y

 

Case 6'16-cv-00982-CE|\/|-TBS Document 200 Filed 06/19/18 Page 2 of 3 Page|D 5086

AFFIDAVIT OF SERV|CE For 6:16-CV-982-0RL-41TBS

| do hereby certify that | have no interest in the above action, that i am over the age of eighteen, and that |
am a Certified Process Server in the Judicia| Circuit in which it was served Under penalties of perjury, |
declare that | have read the forgoing affidavit and that the facts stated in it are true. No Notary required
Pursuant to F_S. 92.525 (2)

Subscribed and sworn to before me on this the 14th - / //?7/77/ / V

day of June, 2018 by the -`rant who is personally TAMMY (;}|:/B'E|§Tw
known to me. CPS # 366

       
    

SLK lNVESTlGATIONS
2212 East 5th Ave
Tampa, FL 33605
(813) 247-6250

  

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Case 6:16-cv-00982-CEN|-TBS Document 197 Filed 06/05/18 Page 1 of 3 Page|D 4979

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

FEDERAL TRADE COMNIISSION and
OFFICE OF THE ATTORNEY
GENERAL, STATE OF FLORIDA,
DEPARTI\/lENT ()F LEGAL AFFAIRS,

Plain tiffs,
v. Case No: 6:16-cv-982-Orl-41TBS

LIFE MANAGEMENT SERVICES ()F
ORANGE COUNTY, LLC, LOYAL
FINANCIAL & CREDIT SERVICES,
LLC, IVD RECOVERY, LLC, KWP
SERVICES, LLC, KWP SERVICES OF
FLORIDA LLC, LPSOFFLA LLC,
LPSOFFLORIDA L.L.C., PW&F

CoNsULTANTS oF FLORIDA LLC, 5 E"
UAD sECURE SERVICES LLC, UAD 5,/'(';/}3
sECURE sERvICE oF FL LLC, URB

MANAGEMENT, LLC, YCC 3 0 ?
soLUTIoNs LLC, YFP soLUTIoNs T_G 3 ma

LLC, KEVIN W. GUICE, CHASE P.
JACKOWSKI, LINDA N. MCNEALY,
CLARENCE H. WAHL, KAREN M.
WAHL, ROBERT GUICE and
TIMOTHY WO()DS,

Defendants.
/

ORDER

THIS CAUSE is before the Court on Receiver’s Motion to Establish Surnmary Procedures
(“Motion,” Doc. 171). Although the Motion indicates that Defendant Kevin Guice and his Wife,
Shannon Guice, Who is not a party, oppose the relief sought therein, no response in opposition was
filed. The remaining Defendants do not oppose the Motion.

For the reasons set forth in the motion, it is OR])ERED and ADJUDGED as follows:

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